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of initiating the cmi docket sheet

I' (a) PLAINTIFFS Brenda Beli, individually and 011 behalf of atf
others similarly situated

(b} County of Residence of First Listed Plaintift` _Cl&rl< COlinty, OhiO
_(EXCEPTIN U.S. FLAJNT!FF C.§SES)

NOTE:

(C) Attorneys (Fm)r Ncrme, Address, and Telephone Nurrzber)
law OYfice Of Ryan S. Sh`rpp, PLLC, 814 W. Lantar:a Rd. Suite 1,
Lamana, Floricfa 33462, Ryan@shipplawoff“rce.com , (561) 699-0399

{d) Check County Where Action Arnse: 13 MIAM- moe E] antenna

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DEFENDANTS Royal Seas Cruises, Inc.

pages as required by law, except as

County of Re-sidence of First Listed Defendant

(IN U.S, PLA.!'NTIFFCASES ONLYj

IN LAND CONDEMNA"FION CASES, USE THE LOCAT[ON OF
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II. BASIS OF JURISDICTH)N (P{ace an “`(" in O.'le Bo.r Onlyj

III. CITIZENSHIP OF PRINCIPAL PARTIES (Pr'ace art “X" in One Boijr Pi'm'nrg'[})

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Cire the U_S. Civil Starute under which you are filing and Write a Brief Statement ofCause (Do nor cite jurisdictional statutes unless diversi:y):
VII- CAUSE OF ACTI()N 47 U.S.C. 227. et sect. Vioiations of the Tefer)hone Consumer Protection Act

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‘E CHECK IF THIS IS A CLASS ACTION
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VIII. REQUESTED IN
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